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             EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  JOHN DOE 1, et al.,                                  )
                                                       )
                                Plaintiffs,            )
                                                       )
                           v.                          )        No. 1:23-cv-00542-SEB-MJD
                                                       )
  NATIONAL COLLEGIATE ATHLETIC                         )
  ASSOCIATION,                                         )
                                                       )
                                Defendant.             )


                      ORDER ON PLAINTIFFS' MOTION TO COMPEL

         This matter is before the Court on Plaintiffs' Motion to Compel Defendant's Production

  of Documents Generated During the Relevant Time Period. [Dkt. 94.] The motion is fully

  briefed, and the Court held a hearing on the motion on February 8, 2024. For the reasons set

  forth below, the motion is DENIED without prejudice.

         In addition, Defendant has filed a Motion to Correct Titles of Declarations in Opposition

  to Plaintiffs' Motion to Compel Production of Documents Generated During the Relevant Time

  Period. [Dkt. 111.] That motion is GRANTED IN PART and DENIED IN PART. The Court

  has considered the declarations in conjunction with the correct motion, the titles notwithstanding.

  There is no need to complicate the docket by refiling them.

                                              I. Background

         The fourteen named Plaintiffs in this putative class action are current and former college

  baseball players who allege that they were subjected "rampant sexualized harassment and

  misconduct at the hands of their coaches, Anthony Giarratano and Troy Nakamura" while they
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  played for the University of San Francisco ("USF"). [Dkt. 95 at 3.] USF is an NCAA member

  school.

            In their Amended Complaint, Plaintiffs assert a variety of tort claims against the NCAA,

  including negligence, breach of fiduciary duty, intentional and negligent infliction of emotional

  distress, and various breach of contract claims. [Dkt. 41.] In addition to their individual claims,

  Plaintiffs seek to represent a class consisting of "[a]ll student-athletes who are currently

  participating in NCAA sports at NCAA member institutions." Id. at 40. The class relief sought

  is limited to equitable and declaratory relief, including an injunction "requiring the NCAA to

  adopt, implement, and enforce appropriate policies and procedures to prevent, or properly

  respond to, sexual misconduct and psychological abuse of students and student-athletes." Id. at

  103. The individual Plaintiffs also seek monetary damages.

                                               II. Discussion

            At issue in the instant motion is the proper temporal scope of certain of Plaintiffs'

  document requests. Because one of the named Plaintiffs, Doe 11, began attending USF in 1999,

  Plaintiffs define the relevant time period as 1999 to the present. Defendant seeks to limit their

  production to August 1, 2019, to the present.

            The parties agree that there are two categories of requests at issue. The first category

  consists of the following:

                   RFP NO. 9: All Documents and Communications regarding rules,
                   policies, and/or codes of conduct that You impose on student-
                   athletes at NCAA member institutions.

                   RFP NO. 10: All Documents and Communications regarding
                   NCAA penalties—whether probation, monetary fines, recruiting
                   restrictions, or other penalties—imposed on student-athletes at
                   NCAA member institutions in relation to violations of NCAA
                   policies.
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              RFP NO. 11: All Documents and Communications regarding
              NCAA penalties—whether probation, monetary fines, recruiting
              restrictions, or other penalties—imposed on NCAA member
              institutions in relation to violations of NCAA policies.

              RFP NO. 12: All Documents and Communications regarding
              NCAA penalties—whether probation, monetary fines, recruiting
              restrictions, or other penalties—imposed on Athletic Personnel in
              relation to violations of NCAA policies.

              RFP NO. 13: All Documents and Communications relating to the
              NCAA’s management and/or oversight of the National Letter of
              Intent (“NLI”) program.

              RFP NO. 14: All Documents regarding the NCAA’s relationship
              with the Collegiate Commissioners Association related to the NLI.

              RFP NO. 15: All Documents and Communications relating to the
              NCAA’s management and/or oversight of the NLIs, including but
              not limited to enforcing the NLIs and penalties imposed.

              RFP NO. 16: All Documents and Communications relating to the
              parties’ obligations under the NLI, including but not limited to
              enforcement of the same.

              RFP NO. 17: All Documents and Communications relating to the
              delegation of authority from member institutions, or any other
              entity, to the NCAA to enforce the NLIs.

              RFP NO. 21: All Documents and Communications relating to the
              parties’ obligations under the Manual, including but not limited to
              enforcement of the same.

              RFP NO. 23: All Documents and Communications relating to the
              parties’ obligations under the Student-Athlete Statement form,
              including but not limited to enforcement of the same.

              RFP NO. 24: All Documents and Communications relating to the
              NCAA’s enforcement of penalties on, or taking of actions against,
              student-athletes or NCAA member institutions for violating the
              Student-Athlete Statement form.

              RFP NO. 25: All Documents and Communications relating to any
              delegation of authority from member institutions, or any other
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                 entity, to the NCAA to enforce the Student-Athlete Statement
                 form.

  [Dkt. 95 at 6-8.] 1 As the parties' briefs and arguments during the hearing make clear, the parties

  are still actively working to agree on ways to narrow the scope of these requests, many of which

  are breathtakingly broad. Defendant's objections to providing responses to these requests back to

  1999 are based, in large part, on undue burden and disproportionality. Obviously, it is simply

  impossible for the Court to evaluate those objections without knowing what actual information

  Defendant will ultimately be asked to provide for each year. And, in any event, any ruling the

  Court would give relating to the proper temporal scope of some currently undefined set of

  narrowed requests that the parties intend to agree on in the future would be akin to an advisory

  opinion, which the Court may not give. See Sweeney v. Raoul, 990 F.3d 555, 557 (7th Cir. 2021)

  (noting the "longstanding prohibition on federal courts issuing advisory opinions"). Accordingly,

  with regard to these requests, the Court DENIES Plaintiffs' motion as premature.

         The second category of requests consists of the following:

                 RFP NO. 6: All reports You have received regarding allegations
                 of Sexual Misconduct made against Athletic Personnel at an
                 NCAA member institution.

                 RFP NO. 7: All Documents and Communications regarding actual
                 or possible disciplinary or corrective actions taken against Athletic
                 Personnel at an NCAA member institution related to Sexual
                 Misconduct.

                 RFP NO. 8: All Documents and Communications regarding
                 sexual or romantic relationships between Athletic Personnel and
                 student-athletes at NCAA member institutions.




  1
    While Request No. 31 was also raised in Plaintiffs' motion, Plaintiffs withdrew their motion as
  to that request in their reply brief. See [Dkt. 109 at 4 n.2].
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                 RFP NO. 32: All Documents, including statistical data, related to
                 the NCAA’s tracking, review, and/or analyses regarding
                 allegations of Sexual Misconduct made against Athletic Personnel
                 at an NCAA member institution.

  [Dkt. 95 at 6, 8.] The parties already have agreed on how to narrow these requests, so the motion

  is not premature as to them; however, the Court notes that it is not necessarily privy to the

  parties' agreement and therefore cannot properly evaluate the burden issue as to them. 2 Putting

  that aside, the Court notes that Plaintiffs seek this information because they believe it is relevant

  to Defendant's duty to protect student-athletes, and particularly on whether the risk of sexual

  abuse of student-athletes was foreseeable. Given the following statement in Defendant's

  response to the instant motion, it is not entirely clear that Defendant actually disputes that point:

         [T]he NCAA does not dispute the general foreseeability of sexual misconduct.
         As the NCAA stated in its Motion to Dismiss, "sexual misconduct by those in
         positions of authority over others is a serious societal issue, and the NCAA has
         acknowledged that issue, working to support member institutions in combating
         it." Dkt. 55 at 25. Indeed, while recent events have brought greater attention to
         the problem, sexual misconduct—including misconduct committed by coaches
         against athletes—has long been the subject of news reports. See, e.g., Seattle
         Times Staff, “Coaches Who Prey” wins national award, The Seattle Times (Mar.
         13,             2004),            https://archive.seattletimes.com/archive/?date=
         20040313&slug=award13m (stating that a four day series identifying more than
         150 predatory coaches in Washington state won a national journalism award).
         Plaintiffs do not need extensive discovery to prove that proposition, particularly
         because they could obtain what they need through less intrusive means.




  2
    The Court has been provided with various pieces of correspondence between the parties
  regarding the request, but has not been provided with a succinct statement of the requests as they
  have been narrowed.
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  [Dkt. 104 at 14.] Plaintiffs note in their reply brief that they "would gladly receive evidence

  through less burdensome means—which they attempted to do for months, when they sought

  stipulations of fact from the NCAA that ultimately went nowhere." 3 [Dkt. 109 at 3.]

  Plaintiffs went on to state as follows:

         If the NCAA is now conceding . . . that sexual misconduct by athletic personnel
         at NCAA-member institutions was foreseeable in 1999 and continues to be
         foreseeable or that the general foreseeability of sexual misconduct gives rise to a
         duty on the part of the NCAA (and did so beginning in 1999), then Plaintiffs will
         gladly serve an RFA in support of this concession and withdraw RFPs 6-8
         and 32.

  [Dkt. 109 at 4 (emphasis added).]

         Stipulations are one thing; requests for admission are another. Requests for admission

  require a response; Defendant will be compelled to respond to them and compelled to admit

  them—not attempt to rewrite them—if there is no basis to deny them. The Court understands

  that Plaintiffs have recently served requests for admission; presumably they included requests

  relevant to the issue of foreseeability. If they did not, the Court suggests that Plaintiffs serve

  additional requests for admission promptly. If Defendant admits well-crafted requests for

  admission relating to the foreseeability of sexual misconduct by athletic personnel at NCAA

  member institutions as of a given date, that will eliminate or greatly reduce the need for this

  discovery. It will also have the added benefit of eliminating the foreseeability issue from any

  dispositive motion and/or trial. The Court believes that the interests of judicial economy—both

  for the parties and the Court—will best be served by this approach.




  3
    The Court notes that none of the proposed stipulations discussed by the parties appear to relate
  to the foreseeability issue. [See Dkt. 109-2.]
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         If the responses to the requests for admission and any additional negotiations by the

  parties do not resolve the issues, Plaintiffs may renew the motion to compel as to these document

  requests. Any such renewed motion should be directed at the actual requests at issue—that is,

  the requests as narrowed by the parties—and shall set out the narrowed requests in the motion.

  Obviously, any discussion of burden shall relate specifically to responding to the narrowed

  requests. In the meantime, Plaintiffs' motion as to these requests is DENIED without prejudice

  to refile the motion.

                                          III. Conclusion

         For the reasons and to the extent set forth above, Plaintiffs' Motion to Compel

  Defendant's Production of Documents Generated During the Relevant Time Period, [Dkt. 94], is

  DENIED without prejudice.

         SO ORDERED.



         Dated: 15 FEB 2024




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  generated by the Court's ECF system.
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